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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                            No. 18 CR 611
              v.
                                            Judge Ronald A. Guzman
JI CHAOQUN

            RESPONSE TO DEFENDANT’S MOTION TO DISMISS

      The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, respectfully submits the

following response to defendant JI CHAOQUN’S Motion to Dismiss Counts One

through Five (Dkt. No. 67) and supporting Memorandum (Dkt. Nos. 68-71).
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I.     BACKGROUND

       A.     The Indictment

       On January 24, 2019, a grand jury returned an indictment charging defendant

JI CHAOQUN with one count of conspiracy to violate 18 U.S.C. § 951(a), in violation

of Title 18, United States Code, Section 371 (Count One); one count of acting as an

agent of a foreign government without notice to the Attorney General, in violation of

Title 18, United States Code, Section 951(a) (Count Two); three counts of wire fraud,

in violation of Title 18, United States Code, Section 1343 (Counts Three through

Five); and one count of making a material false statement in a matter within the

jurisdiction of the executive branch, in violation of Title 18, United States Code,

Section 1001(a)(2) (Count Six). Dkt. No. 32.

       Count One alleges that defendant conspired with Intelligence Officer A and

others to commit an offense against the United States, namely knowingly acting as

an agent of the People’s Republic of China (the “PRC”) without prior notification to

the Attorney General. Id. Count One includes ten paragraphs of allegations detailing

the manner and means of this conspiracy, including that defendant agreed to covertly

served as an agent of the PRC while residing in the United States, traveled to China

to meet with Intelligence Officer A to discuss and plan defendant’s role as an agent

of the PRC, communicated with Intelligence Officer A via email and text messages,

was directed by Intelligence Officer A to purchase background reports from United

States-based companies of multiple ethnic Chinese or Taiwanese individuals who

worked in the science and technology sector in the United States, covertly emailed

those background reports to Intelligence Officer A, was financially compensated for
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this work by Intelligence Officer A, and joined the United States Army in order

become a United States citizen and gain access to sensitive and classified information

for the PRC. Count One also alleges eight paragraphs detailing the overt acts by

defendant in furtherance of the conspiracy, which detail affirmative steps taken by

defendant in furtherance of the above-described allegations. Id.

      Count Two alleges defendant knowingly acted as an agent of the PRC without

prior notification to the Attorney General. Id. The facts underlying this substantive

violation are set forth in Count One. Id

      Counts Three through Five allege defendant engaged in a wire fraud scheme.

Id. Counts Three through Five allege eight paragraphs detailing the manner and

means of the fraud scheme, including that defendant applied to enlist in the United

States Army as a means to obtain United States citizenship via the Military

Accessions to Vital National Interest (“MAVNI”) program, lied about his contact with

Intelligence Officer A and work for the PRC in the SF-86 security clearance

application he submitted as part of the background investigation to enlist, lied about

his employment in order to fraudulently extend his F-1 student visa in the United

States, used his fraudulent immigration status to purport to be legally in the United

States during the background investigation for his application to enlist with the

Army, was paid for his work with the Army Reserves while the background

investigation was pending, and lied about his contact with the PRC Ministry of State

Security (the “MSS”) during the background investigation. Id.


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      Count Six alleges defendant lied about his contact with the MSS during the

Army background investigation. Id.

      B.     Defendant’s Motion to Dismiss

      On December 6, 2019, defendant filed a Motion to Dismiss Counts One through

Five of the Indictment, along with memoranda in support of the following arguments

(1) a motion to dismiss Count One for failure to state an offense and on multiplicity

grounds; (2) a motion to dismiss Counts One and Two because Title 18, United States

Code, Section 951(a) is facially overbroad; (3) a motion to dismiss Counts One and

Two because Title 18, United States Code, Section 951(a) is unconstitutionally vague

and lacks adequate specificity; and (4) a motion to dismiss Counts Three through Five

for failure to state an offense. Dkt. Nos. 67-71.

      C.     The Text of Section 951 and the Pertinent Implementing
             Regulation

      Title 18, United States Code, Section 951 provides in pertinent part as follows:

      (a) Whoever, other than a diplomatic or consular officer or attaché, acts in the
          United States as an agent of a foreign government without prior notification
          to the Attorney General if required in subsection (b), shall be fined under
          this title or imprisoned not more than ten years, or both.

      (b) The Attorney General shall promulgate rules and regulations establishing
          requirements for notification.

      (c) The Attorney General shall, upon receipt, promptly transmit one copy of
          each notification statement filed under this section to the Secretary of State
          for such comment and use as the Secretary of State may determine to be
          appropriate from the point of view of the foreign relations of the United
          States. Failure of the Attorney General to do so shall not be a bar to
          prosecution under this section.


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        (d) For purposes of this section, the term “agent of a foreign government”
            means an individual who agrees to operate within the United States subject
            to the direction or control of a foreign government or official, except that
            such term does not include—

               (1) a duly accredited diplomatic or consular officer of a foreign
                   government, who is so recognized by the Department of State;

               (2) any officially and publicly acknowledged and sponsored official or
                   representative of a foreign government;

               (3) any officially and publicly acknowledged and sponsored member of
                   the staff of, or employee of, an officer, official, or representative
                   described in paragraph (1) or (2), who is not a United States citizen;
                   or

               (4) any person engaged in a legal commercial transaction.

        Consistent with Section 951(b), the Department of Justice promulgated

regulations providing guidance on compliance with the statute. Among other things,

the regulations define the term “legal commercial transaction,” for the purpose of

Section 951(d)(4), as “any exchange, transfer, purchase or sale, of any commodity,

service or property of any kind, including information or intellectual property, not

prohibited by federal or state legislation or implementing regulations.” 28 C.F.R.

§ 73.1(f).

II.     DEFENDANT’S MOTION TO DISMISS COUNT ONE FOR FAILURE TO STATE AN
        OFFENSE AND ON MULTIPLICITY GROUNDS

        Defendant moves to dismiss Count One for failure to state an offense arguing

that the conspiracy and substantive offense charged in Count Two involve the same

conduct, and because Counts One and Two are multiplicitous. Defendant’s motion to

dismiss Count One fails because the charges in Counts One and Two are properly

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alleged as a conspiracy and a substantive count, are distinct charges, and are not

multiplicitous. More specifically, Count One alleges a conspiracy, or agreement, to

violation Section 951(a), which is distinct from Count Two, which alleges a

substantive violation of Section 951(a).

      “It has been long and consistently recognized by the Court that the commission

of the substantive offense and a conspiracy to commit it are separate and distinct

offenses. Pinkerton v. United States, 328 U.S. 640, 643 (1946). “A conspiracy is a

partnership in crime . . . [and] has ingredients, as well as implications, distinct from

the completion of the unlawful project.” Id.at 644. “Its distinguishing element is the

combination of several persons for an unlawful end. . . the parties may be punished

for their agreement to commit a crime as well as for the completed crime.” United

States v. Miller, 508 F.2d 444, 447-48 (7th Cir. 1974) (citations omitted).

      To prove a violation of Section 951, the government must prove (1) the

defendant acted; (2) defendant’s action was taken at the direction of or under the

control of a foreign government; and (3) the defendant failed to notify the Attorney

General before taking such action. 18 U.S.C. § 951(a); see also United States v. Duran,

596 F.3d 1283, 1291 (11th Cir. 2010). To prove a violation of Section 371, the

government must prove (1) the conspiracy existed; (2) the defendant knowingly

became a member of the conspiracy with the intent to advance the conspiracy; and

(3) one of the conspirators committed an overt act in an effort to advance the goal of

the conspiracy. 18 U.S.C. § 371; Seventh Circuit Pattern Criminal Jury Instruction


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5.08(A) (2012). A conspiracy is an express or implied agreement between two or more

persons to commit a crime, and may be proven even if its goals were not accomplished.

18 U.S.C. § 371; Seventh Circuit Pattern Criminal Jury Instruction 5.09 (2012).

      Defendant argues that Count One fails to state an offense because the only

allegations in Count One concerning an agreement are the alleged agreement

between defendant and Intelligence Officer A, which allegations defendant argues

are coextensive with the facts necessary to prove the second element of Section 951.

Dkt. No. 68 at 5. First, this argument is factually inaccurate as Count One alleges

that defendant agreed to assist Intelligence Officer A and others known and

unknown, including the PRC, by covertly serving as an agent of the PRC while

residing in the United States. Dkt. No. 32 at 1-2 (emphasis added). Nevertheless,

Pinkerton governs because Count One alleges the conspiracy, that defendant agreed

with Intelligence Officer A and others to act as an agent of the PRC; while Count Two

alleges the substantive offense that defendant did, in fact, act as an agent of the PRC.

Pinkerton, 328 U.S. at 643-44.

      For the same reasons, Counts One and Two are not multiplicitous. Starks, 472

F.3d at 468-69. “Multiplicity is the charging of a single offense in separate counts of

an indictment.” United States v. Starks, 472 F.3d 466, 468–69 (7th Cir. 2006)

(citations omitted). Multiplicity in an indictment exposes a defendant to the threat of

receiving multiple punishments for the same offense in violation of the Double

Jeopardy Clause of the Fifth Amendment. United States v. Conley, 291 F.3d 464, 470


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(7th Cir. 2002). “The traditional test of multiplicity determines whether each count

requires proof of a fact which the other does not. If one element is required to prove

the offense in one count which is not required to prove the offense in the second count,

there is no multiplicity.” Starks, 472 F.3d at 469. “[W]e focus on the statutory

elements of the charged offenses, not the overlap in the proof offered to establish

them, because a single act may violate several statutes without rendering those

statutes identical.” United States v. Muhammad, 120 F.3d 688, 703 (7th Cir.1997).

       Here, each count requires proof of a fact which the other does not. Id. As

detailed above, a conspiracy requires proof of an agreement, but does not require

proof the goals of the conspiracy were accomplished. 18 U.S.C. § 371. On the other

hand, Section 951(a) requires proof that defendant acted, meaning that he

accomplished his goal. 18 U.S.C. § 951(a). Notably, contrary to defendant’s assertion,

Section 951(a) does not require proof of an agreement. Instead, it requires proof that

defendant acted at the direction or control of a foreign government. Id. Further, the

fact that the proof of Counts One and Two may overlap is not the relevant inquiry.

Muhammad, 120 F.3d at 703.

       For these reasons, defendant’s motion to dismiss Count One for failure to state

an offense and on multiplicity grounds should be denied.

III.   DEFENDANT’S MOTION TO DISMISS COUNTS ONE AND TWO AS FACIALLY
       OVERBROAD

       Defendant moves to dismiss Counts One and Two as facially overbroad arguing

that Section 951(a) prohibits a substantial amount of protected speech. Defendant’s

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motion to dismiss Counts One and Two fails because Section 951(a) is not overbroad

and is specifically limited by its own definitions. 18 U.S.C. § 951.

      Section 951(a) criminalizes conduct in which a person—who is not a diplomat,

consular officer, or attaché—acts in the United States as an agent of a foreign

government without prior notification to the Attorney General. 18 U.S.C. § 951(a).

“Agent of a foreign government” is defined within the statute as “an individual who

agrees to operate within the United States subject to the direction or control of a

foreign government or official.” 18 U.S.C. § 951(d). Congress explicitly included a

number of exceptions to this definition, including “(4) any person engaged in a legal

commercial transaction.” 18 U.S.C. § 951(d)(4). “The term legal commercial

transaction, for the purpose of 18 U.S.C. [§] 951(d)(4), means any exchange, transfer,

purchase or sale, of any commodity, service or property of any kind, including

information or intellectual property, not prohibited by federal or state legislation or

implementing regulations.” 28 C.F.R. § 73.1(f).

      Defendant’s entire argument that Section 951(a) is overbroad is grounded in

the assertion that there is no limit to the scope of conduct covered by Section 951(a),

including defendant’s example of a foreign official’s friend who traveled to the United

States to procure a Fender Telecaster for use in that foreign official’s personal band.

Dkt. No. 69 at 8-10. The friend who purchased that Fender Telecaster purchased a

commodity not prohibited by any law, which clearly fell within the scope of the “legal

commercial transaction” exception in the statute. 18 U.S.C. § 951(d)(4). In other


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words, defendant provided an example of conduct that was contemplated by

Congress, and excepted from a violation of Section 951(a) via the plain language of

the statute. Id.

      Defendant attempts to inject a First Amendment violation into his motion by

making the conclusory argument that Section 951(a) is overbroad as it “prohibits a

substantial amount of protected speech.” Dkt. No. 69. However, defendant cites no

authority for this proposition as it relates to Section 951(a), and provides no examples

of circumstances in which Section 951(a) on its face prohibits free speech. Indeed,

defendant cites to the only other similar challenge to Section 951(a), which was

withdrawn before the Court could rule. Dkt. No. 69 at 9 (citing United States v.

Butina, 18 CR 218, Dkt. No. 52 (D.D.C. 2019)). Defendant nevertheless incorporates

the examples made in that motion in support of his argument, including examples of

various individuals engaged in a range conduct within the United States at the

direction of a representative of a foreign government. Id. at 9-10. Some of the

examples fall within the legal commercial transaction exception, others provide no

allegation of an “act” made at the “direction” of the foreign official, and others may

well be violations of Section 951(a). These examples thus provide no support for

defendant’s argument that the statute is overbroad. Indeed, defendant’s argument

that Section 951(a) is overbroad is patently defeated by the statutory exceptions.

      For these reasons, defendant’s motion to dismiss Counts One and Two as

facially overbroad should be denied.


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IV.   DEFENDANT’S MOTION TO DISMISS COUNTS ONE AND TWO AS
      UNCONSTITUTIONALLY VAGUE AND LACKING ADEQUATE SPECIFICITY

      Defendant moves to dismiss Counts One and Two arguing that Section 951(a)

is unconstitutionally vague and lacking in adequate specificity. Defendant’s motion

to dismiss Counts One and Two fails because Section 951(a) is readily understandable

on its face and gives adequate notice of the conduct prohibited by the statue.

      A statute is unconstitutionally vague when “criminal responsibility should not

attach were one could not reasonably understand that his contemplated conduct is

proscribed.” United States v. Nat’l Dairy Prods. Corp., 372 U.S. 29, 32-33 (1963)

(citations omitted). A law is unconstitutionally vague only if it “fails to provide a

person of ordinary intelligence fair notice of what is prohibited, or is so standardless

that it authorizes or encourages seriously discriminatory enforcement.” Holder v.

Humanitarian Law Project, 561 U.S. 1, 18-19 (2010) (“HLP”) (quoting United States

v. Williams, 553 U.S. 285, 304 (2008)).

       In Truong, the Fourth Circuit rejected a vagueness challenge to Section 951

that focused on the term “agent,” which was undefined at the time. United States v.

Truong Dinh Hung, 629 F.2d 908, 920 (4th Cir. 1980). The court held that “‘[a]gent’

as used in this context . . . is a readily understandable term which provides adequate

notice of the conduct proscribed by the statute.” Id. Section 951 now defines the term

“agent” as “an individual who agrees to operate within the United States subject to

the direction or control of a foreign government or official,” and it enumerates four

exceptions to the definition. 18 U.S.C. § 951(d); see also 28 C.F.R. § 73.1(a) (defining

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“agent” as “all individuals acting as representatives of, or on behalf of, a foreign

government or official, who are subject to the direction or control of that foreign

government or official”). In light of the additional guidance and narrowing provided

by the definition (which expressly requires “direction or control” by the foreign

government) and the statutory exceptions thereto (which exempt certain forms of

conduct that would otherwise be covered), Section 951 is now substantially clearer

than it was at the time of Truong. See HLP, 561 U.S. at 35-36 (rejecting a vagueness

challenge to the statute that criminalizes providing material support to foreign

terrorist groups, 18 U.S.C. § 2339B, and emphasizing the “added clarity” provided by

similar definitions and exceptions). Thus, it is unsurprising that each court to have

considered a vagueness challenge to Section 951 since the enactment of subsection

(d) has rejected that challenge. See, e.g., Duran, 596 F.3d at 1291 (holding that “§ 951

plainly and concretely identifies the conduct” that violates the statute and that “the

statute’s language is clear and unambiguous”) (citations omitted); United States v.

Lindauer, No. 03-CR-807, 2004 WL 2813168, *4 (S.D.N.Y. Dec. 6 , 2004) (citing

Truong and noting that vagueness challenge to Section 951 “d[id] not require

extensive discussion”).

      First, defendant argues that Section 951 appears limitless, making many of

the same arguments he made in his prior motion to dismiss, that the statute could

proscribe well-intentioned acts. Dkt. No. 70 at 4. Defendant cites no authority for this

proposition and instead argues that “otherwise” lawful acts could be swept into an


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alleged violation. As detailed above in Section IV, the statute sets forth the relevant

exceptions, including those involving “legally commercial transactions,” thus

eliminating the notion that Section 951(a) is “limitless.”

      Second, defendant argues that Section 951(a) fails to provide adequate notice

of the proscribed conduct sufficient to risk arbitrary enforcement. Dkt. No. 70 at 5.

As detailed above, every court to address a vagueness challenge to Section 951(a) has

rejected the argument because “the statute’s language is clear and unambiguous.”

See, e.g., Duran, 596 F.3d at 1291. Nothing in defendant’s arguments are innovative

sufficient to warrant a deviation from this established law.

      Third, defendant seeks to politicize this matter by raising the current state of

diplomatic and economic relations between the United States and the PRC. Dkt. No.

70 at 6. Defendant’s appears to argue that this prosecution was, in some way,

motivated by those politics, and cites a litany of opinions as support for his notion.

Id.at 6-7. However, defendant cites no legal authority to support this argument and

his efforts to politicize this prosecution should thus be rejected.

      Finally, defendant argues that Count Two fails to adequately inform him of the

nature and cause of the accusation. Dkt. No. 70 at 9-10. Rule 7(c)(1) of the Federal

Rules of Criminal Procedure requires simply that an indictment “shall be a plain,

concise and definite written statement of the essential facts constituting the offense

charged.” Fed. R. Crim. P. 7(c)(1). The Seventh Circuit has held that an indictment is

constitutionally sufficient if it: (1) states all the elements of the offense charged; (2)


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informs the defendant of the nature of the charge, enabling the defendant to prepare

a defense; and (3) enables the defendant to plead the judgment as a bar to later

prosecution for the same offense. See, e.g., United States v. Agostino, 132 F.3d 1183,

1189 (7th Cir. 1997); United States v. Allender, 62 F.3d 909, 914 (7th Cir. 1995);

United States v. Watkins, 709 F.2d 475, 478 (7th Cir. 1983). It is well-settled that “the

defendant’s constitutional right is to know the offense with which he is

charged, not to know the details of how it will be proved.” United States v. Kendall,

665 F.2d 126, 135 (7th Cir. 1981). Ironically, defendant is provided a roadmap

concerning the acts he performed at the direction of a representative of the PRC

relevant to Count Two in the detailed manner and means and overt acts sections of

the conspiracy alleged in Count One. While these paragraphs from Count One are not

incorporated by reference into Count Two, he cannot credibly argue that he has no

notice of what crime he is alleged to have committed in Count Two. Nevertheless,

Count Two is constitutionally sufficient under the Seventh Circuit standard and thus

provides adequate notice of the charge to defendant. Agostino, 132 F.3d at 1189.

        For these reasons, defendant’s motion to dismiss Counts One and Two because

Section 951(a) is unconstitutionally vague and lacks adequate specificity should be

denied.

V.      DEFENDANT’S MOTION TO DISMISS COUNTS THREE THROUGH FIVE FOR
        FAILURE TO STATE AN OFFENSE

        Defendant moves to dismiss Counts Three through Five for failure to state an

offense arguing that the charges fail to allege a scheme to defraud or what money or

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property was taken. Defendant’s motion fails because the indictment clearly alleges

a scheme to defraud, namely that defendant made a number of material lies to the

United States Army in support of his application to enlist and participate in the

United States Army Reserves program, in exchange for which the United States

Army paid defendant money.

      To prove wire fraud, the government must prove that (1) the defendant

knowingly devised or participated in a scheme to defraud; (2) the defendant did so

with the intent to defraud; (3) the scheme to defraud involved a materially false or

fraudulent pretense, representation, or promise; and (4) for the purpose of carrying

out the scheme or attempting to do so, the defendant caused interstate wire

communications to take place in the manner charged in the particular count. 18

U.S.C. § 1343; Seventh Circuit Pattern Criminal Jury Instruction (2012), 18 U.S.C.

§ 1343, page 490. A scheme to defraud is a scheme that is intended to deceive or cheat

another and to obtain money or property by means of materially false or fraudulent

pretenses, representations, or promises. Seventh Circuit Pattern Criminal Jury

Instruction (2012), 18 U.S.C. § 1343, page 493.

      Here, the Counts Three through Five allege that defendant made multiple false

representations as part of his scheme to defraud, including (1) that he lied in the SF-

86 about his contact with Intelligence Officer A; (2) that he lied about his employment

in order to fraudulently extend his F-1 student visa, knowing that he needed legal

immigration status in order to enlist with the Army, be paid by the Army, and obtain


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U.S. Citizenship via the MAVNI program; (3) that he lied about his employment and

immigration status during the background investigation for his application to enlist

in the Army; and (4) that he lied about his contact with Intelligence Officer A, who

defendant knew was a representative of the MSS, when answering a written

questionnaire during the background investigation for his application to enlist in the

Army. Each one of these lies was material to his application to enlist in the Army,

and thus his ability to work for the Army Reserves in exchange for payment pending

his enlistment application. The indictment clearly alleges a scheme to defraud.

      First, defendant argues that defendant’s lies concerning his immigration

status are not logically part of the fraud scheme, but provides no authority or

explanation for this conclusory argument. Dkt. No. 71 at 3. Defendant’s lies

concerning his immigration status are central to his scheme to defraud the Army.

Indeed, the allegations include that defendant knew that he needed lawful

immigration status in order to enlist in the Army, be paid for his work with the Army

reserves, and to obtain citizenship via the MAVNI program. As a result, his lies

concerning his employment in order to fraudulently extend his student visa were

critical to his scheme to defraud the Army.

      Second, defendant argues that the other lies concerning his contact with

Intelligence Officer A were “simply” false statements that did not amount to a fraud

scheme. Dkt. No. 71 at 3-4. Again, defendant cites no authority and provides no

explanation for this argument. The lies on the SF-86 and written questionnaire


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during the background investigation concerning his contact with Intelligence

Officer A, who defendant knew was a representative of the MSS, were also material

to his application to enlist in the Army, be paid for his work with the Army reserves,

and to obtain citizenship via the MAVNI program. As a result, his lies concerning his

contact with Intelligence Officer A were likewise critical to his scheme to defraud the

Army.

        Finally, defendant argues that the indictment fails to allege that money or

property were the object of the fraud scheme. Dkt. No. 71 at 4-5. Counts Three

through Five clearly allege that defendant engaged in the scheme to defraud in order

to obtain money from the Army. Indeed, each of Counts Three through Five alleges

the wirings of funds from the Army to defendant, which constitute the interstate

wires required to allege an execution of wire fraud. Defendant is correct that the

government is not deprived of money or property by issuing a visa or citizenship as a

result of fraud for purposes of the wire fraud statute. See, e.g., Cleveland v. United

States, 531 U.S. 12, 18 (2000) (video poker licenses issued by the State of Louisiana

were not property for purposes of the mail fraud statute). However, the government,

namely the Army, was deprived of at least approximately $1,031.52 in payments to

defendant in exchange for his work as an Army reservist as alleged in the specific

wirings. The indictment clearly alleges the money or property rights were the object

of defendant’s scheme to defraud.




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      For these reasons, defendant’s motion to dismiss Counts Three through Five

for failure to state an offense should be denied.

VI.   CONCLUSION

      For all of these reasons, the United States respectfully requests that this Court

deny defendant JI CHAOQUN’s Motion to Dismiss.



                                        Respectfully submitted,

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